UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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AWL INDUSTRIES, INC, CV-
Plaintiff, COMPLAINT
-against-
SLSCO LTD., a Limited Partnership, and SULLIVAN
ENVIRONMENTAL SERVICES, INC., its General
Partner,
Defendants.
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Plaintiff, AWL Industries, Inc., by its attorneys, Sesti Law Firm PC, as and for its
complaint against defendants, SLSCO Ltd. and Sullivan Environmental Services, Inc., alleges as
foHows:

lL. That at all relevant times herein, plaintiff, AWL Industries, Inc. (“AWL”), was
and still is a domestic corporation duly organized and existing under the laws of the State of New
York, having its principal place of business at 460 Morgan Avenue, Brooklyn, New York 11222.

2, That at all relevant times herein, upon information and belief, defendant, SLSCO
Ltd. (“SLSCO”), was and still is a foreign limited partnership duly organized and existing under
the laws of the State of Texas, having its principal place of business at 6702 Broadway,
Galveston, Texas 77554.

3. That at all relevant times herein, upon information and belief, defendant, Sullivan
Environmental Services, Inc. (“Sullivan Environmental”), was and still is a foreign corporation
duly organized and existing under the laws of the State of Texas, having its principal place of

business at 6702 Broadway, Galveston, Texas 77554.
4, That at all relevant times herein, upon information and belief, Sullivan
Environmental was and still is the sole General Partner of SLSCO, a Texas Limited Partnership
and, as a matter of law, is liable for the debts and obligations of the Limited Partnership.

JURISDICTION AND VENUE

5. The Court has jurisdiction over the claims in this action on the basis of diversity
of citizenship, pursuant to 28 U.S.C. §1332, and the amount in controversy exceeds the sum of
$75,000.00, exclusive of interest and costs.

6. Diversity exists in this action insofar as AWL is a New York corporation having
its principal place of business in the State of New York; defendant SLSCO is a Texas limited
partnership having its principal place of business in the State of Texas; and, defendant Sullivan
Environmental is a Texas corporation having its principal place of business in the State of Texas.

7. Pursuant to 28 U.S.C. §1391(a)(2), venue lies in the Eastern District of New York
in that a substantial part of the events or omissions giving rise to the claims occurred therein, and
wherein the properties that are the subject of the action are situated.

AS AND FOR A FIRST CAUSE OF ACTION

8. On or about April 17, 2015, upon information and belief, the City of New York
acting by and through the Commissioner of the Department of Design and Construction awarded
SLSCO (f/k/a Sullivan Land Services, Ltd.) a contract for design, construction and construction
management services for a project known as CM/Design/Build for Hurricane Sandy Residential
Community Recovery in the Borough of Staten Island (the “Project’’).

9. That in connection with the Project, on or about May 19, 2017, SLSCO, as

Construction Manager, awarded AWL, as Subcontractor, for certain agreed upon consideration,
the following ten (10) Prequalified Contractor Agreements for Staten Island Modular Phase |
homes (hereinafter collectively, the “Subcontracts”):

APP-000608 - 669 Oceanside Avenue, Staten Island, New York

APP-003238 - 420 Hamilton Avenue, Staten Island, New York

APP-004328 - 221 Father Capodanno Blvd., Staten Island, New York

APP-011308 - 190 Wiman Avenue, Staten Island, New York

APP-012049 - 19 Balfour Street, Staten Island, New York

APP-013283 - 33 Hempstead Avenue, Staten Island, New York

APP-016236 - 1028 Olympia Blvd., Staten Island, New York

APP-016422 - 742 Seaview Avenue, Staten Island, New York

APP-020746 - 36 Neutral Avenue, Staten Island, New York

APP-022127 - 15 Nugent Avenue, Staten Island, New York

10. That AWL performed all Work and obligations required of it under the
Subcontracts on its part to be performed until on or about September 30, 2017, when after
SLSCO terminated the Subcontracts for convenience pursuant to their terms, SLSCO directed
AWL not to perform any additional work.

11. That the Subcontracts provide that under such circumstances, SLSCO shall pay
AWL the unpaid amount due and payable for its work (the “Termination Payment”).

12, That SLSCO, and its General Partner, Sullivan Environmental, failed to perform
and/or fulfill the obligations required of them under the Subcontracts by failing and refusing to
pay AWL a Termination Payment in the sum of $1,238,367.00, as agreed.

13. By reason of the foregoing, SLSCO, and its General Partner, Sullivan
Environmental, are liable to AWL in the amount of $1,238,367.00, plus interest.

AS AND FOR A SECOND CAUSE OF ACTION

14. AWL repeats, reiterates and realleges each and every allegation contained in

paragraphs “1” through “13” above as if fully set forth at length herein.

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15. That AWL, at the specific insistence and request of SLSCO, and its General
Partner, Sullivan Environmental, furnished certain work, labor, services and materials under the
Subcontracts for the direct benefit of SLSCO, and its General Partner, Sullivan Environmental,
the unpaid portion of which having a fair and reasonable value of $1,238,367.00.

16. That SLSCO, and its General Partner, Sullivan Environmental, have been unjustly
enriched by receiving and accepting the benefits of the unpaid portion of the labor and materials
provided by AWL without paying in full for the same, despite due demand therefor.

17. By reason of the foregoing, SLSCO, and its General Partner, Sullivan
Environmental, are liable to AWL in the amount of $1,238,367.00, plus interest.

WHEREFORE, plaintiff, AWL Industries, Inc., demands judgment against defendants,
SLSCO Ltd. and Sullivan Environmental Services, Inc., as follows: (i) on its First cause of
action, in the amount of $1,238,367.00; (ii) on its Second cause of action, in the amount of
$1,238,367.00; plus (iii) interest, costs, disbursements, and attorneys’ fees, together with such
other, different and further relief as the Court may deem just and proper.

Dated: October 3, 2018
‘si Robert A. Sesti
Robert A. Sesti, Esq. (RS 6085)
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